                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )      Case No. 09-00085-02-CR-W-GAF
                                           )
EDGAR HERNANDEZ,                           )
                                           )
                     Defendant.            )

              ORDER GRANTING MOTION TO DISMISS INDICTMENT
                        AS TO EDGAR HERNANDEZ

       Now pending before the Court is the United States’ Motion to Dismiss Indictment as to

Edgar Hernandez. For good cause shown, it is

       ORDERED that the April 8, 2009 Indictment against Defendant Edgar Hernandez is

dismissed without prejudice.

                                                  s/ Gary A. Fenner
                                                  Gary A. Fenner, Judge
                                                  United States District Court

DATED: August 25, 2009




       Case 4:09-cr-00085-GAF        Document 45       Filed 08/25/09     Page 1 of 1
